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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

VANESSA GONZALEZ,

   Plaintiff,

-vs-                                                  CASE NO.: 6:16-CV-00159-GKS-GJK

MEDICREDIT, INC.

   Defendant.
                                         /

                                     NOTICE OF SETTLEMENT

        Plaintiff, VANESSA GONZALEZ, by and through her undersigned counsel, hereby notifies the

Court that the parties, Plaintiff, VANESSA GONZALEZ, and Defendants, MEDICREDIT, INC., have

reached a settlement with regard to this case, and are presently drafting, and finalizing the settlement

agreement, and general release documents.       Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                                     CERTIFICATE OF SERVICE

        I hereby certify that on September 20, 2016, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system and that a Notice of this filing will be sent to the following by

operation of the Court’s Electronic Filing System: William Jason Cantrell, Esq., Ogletree Deakins Nash

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